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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
____ ___ _______ ___X
In re: Chapter ll
Case No. 18-77139-reg

 

600 TRIANGLE LLC.

Debtors.
_______________________________________________________ X

STATEMENT PURSUANT TO LOCAL RULE 2017
I, Richard J. l\/IcCord, an attorney duly admitted to practice before this Court,
states as follows:
l. That l am the attorney for the above-referenced Debtor, 600 Triangle LLC
(the “Debtor”) and am fully familiar with the facts herein.
2. That prior to the filing of the petition herein on October 22, 2018
Certilman Balin Adler & Hyman, LLP, rendered the following services to the Debtor:
Date/Time Services
9/28/2018 Initial interview; analysis of financial condition, etc.
10/15/2018 Review documentation for preparation of petition;

10/19/2018 Meet with client regarding additional information
provided for inclusion in petition;

10/19/2018 Finalize petition for client signature.

3. That my firm will also represent the Debtor at the first meeting of
creditors
4. That all services rendered prior to the filing of the petition herein were

rendered by my firm.

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5. The hourly rates for the attorneys in the bankruptcy department of

Certilman Balin Adler & Hyman, LLP. are between $500.00 and 8600.00 for partners

and $400.00 for associates of this firm.

6. That my usual rate of compensation of bankruptcy matters of this type is

510,000.00.

Dated: East Meadow, New York
October 22, 2018

CERTILMAN BALIN ADLER & HYMAN, LLP
Attorneys for the Debtor, 600 Triangle LLC

By: /s/Richard J. l\/lcCord
Richard J. l\/I<:Cord, Esq. (RJM 3290)
90 Merrick Avenue
East l\/leadow, New York 11554
(516) 296-7000

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